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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

WSOU Investments LLC

vs.                                                 Case No.: 6:20-cv-00580-ADA
Google LLC


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Rita J. Yoon                                              , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Google LLC                                        in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               JONES DAY                                                 with offices at:

               Mailing address: 555 California Street, 26th Floor

               City, State, Zip Code: San Francisco, CA 94104

               Telephone: (415) 626-3939                    Facsimile: (415) 875-5700


       2.      Since    2008                                  , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Illinois                     .

               Applicant's bar license number is 6298019                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               U.S. Supreme Court                           10/15/2013

               Eastern District of Texas                    10/1/2019

               Northern District of Illinois                3/31/2009
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4.     Applicant is presently a member in good standing of the bars of the courts listed above,

       except as provided below (list any court named in the preceding paragraph before which

       Applicant is no longer admitted to practice):

       N/A




5.     I      have         have not previously applied to Appear Pro Hac Vice in this district

       court in Case[s]:

       Number: 6:20-cv-00148-ADA            on the 9th    day of May                    , 2020 .

       Number: 6:21-cv-01193-ADA            on the 20     day of January                , 2022 .

       Number:                              on the        day of                        ,         .

6.     Applicant has never been subject to grievance proceedings or involuntary removal

       proceedings while a member of the bar of any state or federal court, except as

       provided:
       N/A




7.     Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

       except as provided below (omit minor traffic offenses):

       N/A




8.     Applicant has read and is familiar with the Local Rules of the Western District of Texas

       and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Michael E. Jones

                 Mailing address: Potter Minton, 102 North College, Suite 900

                 City, State, Zip Code: Tyler, TX 75702

                 Telephone: (903) 597-8311


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Rita J. Yoon                              to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Rita J. Yoon
                                                       [printed
                                                        p       name of Applicant]
                                                                         pp


                                                       [signature
                                                       [si
                                                         ignature of
                                                                  of Applicant]
                                                                     Ap


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 29 day of March                       , 2023 .

                                                        Rita J. Yoon
                                                       [printed name of Applicant]


                                                       [signature
                                                       [si
                                                         ignature of
                                                                  of Applicant]
                                                                     Appplicant]
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 WACO DIVISION


WSOU Investments LLC

YV                                                                         &DVH1R 6:20-cv-00580-ADA
Google LLC



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 Google LLC
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 Rita J. Yoon                                                                             Google LLC
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District CourtLQFRPSOLDQFHZLWK/RFDO&RXUW5XOH$7O I  

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                                                                            UNITED STATES DISTRICT JUDGE
